OAO 245C (Rev.Case     2:08-cr-00311-MMD-GWF
               06/05) Amended Judgment in a Criminal Case               Document 348             Filed 07/11/11(NOTE:
                                                                                                                   Page     1 Changes
                                                                                                                      Identify of 21 with Asterisks (*))
         Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                        District of                                      Nevada
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                GARY AMBARTSUMYAN                                                  Case Number:                       2:08-cr-311-RLH-GWF-4
                                                                                   USM Number:                        43611-048
Date of Original Judgment: July 7, 2011                                            DAVID T. BROWN
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                     G 18 U.S.C. § 3559(c)(7)
                                                                                   G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X    pleaded guilty to count(s)       Two, Eight and Ten of the Second Superseding Indictment
G    pleaded nolo contendere to count(s)
     which was accepted by the court.
G    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                   Offense Ended                Count
18 USC § 1029(a)(1)                 Trafficking In, Production of, and Use of Counterfeit Access Devices                  12/03/08                   *2
18 USC §§ 1028A(a)(1)               Aggravated Identify Theft                                                              8/16/08                    8
   and (c)(4)
18 USC § 1956(h)                    Conspiracy to Commit Money Laundering                                                   12/26/08                  10

       The defendant is sentenced as provided in pages 2                       6             of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
X    Count(s)             All Remaining Counts                G is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   July 7, 2011
                                                                                   Date of Imposition of Judgment



                                                                                   Signature of Judge
                                                                                   ROGER L. HUNT, UNITED STATES DISTRICT JUDGE
                                                                                   Name and Title of Judge

                                                                                   July 11, 2011
                                                                                   Date
AO 245C     Case
           (Rev.     2:08-cr-00311-MMD-GWF
                 06/05) Amended Judgment in a Criminal Case    Document 348           Filed 07/11/11           Page 2 of 21
           Sheet 2 — Imprisonment                                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment — Page         2     of         6
DEFENDANT:                GARY AMBARTSUMYAN
CASE NUMBER:              2:08-cr-311-RLH-GWF-4

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term    24 M ONTHS each as to Count Two and Count Ten, each to run concurrently one with the other;
                24 M ONTHS as to Count Eight, to run consecutively with Count Two and Count Ten; for a
                TOTAL TERM OF 48 M ONTHS



X The court makes the following recommendations to the Bureau of Prisons:
    The Court recommends the Defendant be permitted to serve his term of incarceration in the Englewood facility, or in the
    alternative in the Lompac or Florence facility (listed in order of preference). The Court also recommends the Defendant
    be permitted to participate in a residential drug treatment program while incarcerated. The Court strongly recommends
    the Defendant and his brother Artur Ambartsumyan be housed in the same facility.

G The defendant is remanded to the custody of the United States Marshal.

G The defendant shall surrender to the United States Marshal for this district:
    G      at                                   G     a.m.     G     p.m.      on                                        .

    G      as notified by the United States Marshal.

X   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

    X      before 12 p.m. on      OCTOBER 7, 2011                       .

    G      as notified by the United States Marshal.

    G      as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                            to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                        By
                                                                                                DEPUTY UNITED STATES MARSHAL
             Case 2:08-cr-00311-MMD-GWF                         Document 348            Filed 07/11/11          Page 3 of 21
AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 3 — Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page         3     of         6
DEFENDANT:                  GARY AMBARTSUMYAN
CASE NUMBER:                2:08-cr-311-RLH-GWF-4
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
        3 YEARS each as to Counts Two and Ten and One Year as to Count Eight, all to run concurrently one with the other




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)

G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
AO 245C   Case
          (Rev.     2:08-cr-00311-MMD-GWF
                06/05) Amended Judgment in a Criminal Case   Document 348   Filed 07/11/11    Page 4 of 21
          Sheet 3C — Supervised Release                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                       Judgment—Page        4     of         6
DEFENDANT:               GARY AMBARTSUMYAN
CASE NUMBER:             2:08-cr-311-RLH-GWF-4

                                     SPECIAL CONDITIONS OF SUPERVISION


1) The defendant shall not possess, have under his control, or have access to any firearm, explosive device, or
other dangerous weapons, as defined by Federal, state or local law.
2) The defendant shall submit to the search of his person, property, residence, or automobile under his control by
the Probation Officer, or any other authorized person under the immediate and personal supervision of the
Probation Officer without a search warrant to ensure compliance with all conditions of release.
3) The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the Probation Officer.
4) The defendant shall provide the Probation Officer access to any requested financial information, including
personal income tax returns, authorization for release of credit information, and any other business financial
information in which he has a control or interest.
5) The defendant shall use his true name at all times and will be prohibited from the use of any aliases, false date
of birth, social security numbers, places of birth, and any other pertinent demographic information.


Note: A written copy of the conditions of release was provided to the Defendant by the Probation Officer in open
Court at the time of sentencing.
AO 245C     Case
           (Rev.     2:08-cr-00311-MMD-GWF
                 06/05) Amended Judgment in a Criminal Case    Document 348             Filed 07/11/11        Page 5 of 21
           Sheet 5 — Criminal Monetary Penalties                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page       5     of           6
DEFENDANT:                      GARY AMBARTSUMYAN
CASE NUMBER:                    2:08-cr-311-RLH-GWF-4
                                           CRIMINAL MONETARY PENALTIES

    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                      Assessment                                     Fine                               Restitution
TOTALS           $ 300.00                                        $ WAIVED                             $ 225,332.00*
                                                                                          *Due Jointly and Severally with Co-Defendants.


G   The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                          Restitution Ordered                 Priority or Percentage

(See Attached List)                                                               $225,332.00




TOTALS                             $                                        $    $225,332.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for         G fine       G restitution.
     G the interest requirement for the       G     fine      G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245C     Case
            (Rev.     2:08-cr-00311-MMD-GWF
                  06/05) Amended Judgment in a Criminal Case       Document 348         Filed 07/11/11         Page 6 of 21
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page      6       of         6
DEFENDANT:                 GARY AMBARTSUMYAN
CASE NUMBER:               2:08-cr-311-RLH-GWF-4

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X    Lump sum payment of $         225,632.00             due immediately, balance due

          G    not later than                                       , or
          X    in accordance with      G C,       G D,         G    E, or    X F below; or
B    G    Payment to begin immediately (may be combined with                G C,      G D, or    G F below); or
C    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X    Special instructions regarding the payment of criminal monetary penalties:
          ANY REMAINING BALANCE DUE AT THE TIME OF RELEASE SHALL BE PAID AT A
          MONTHLY RATE OF 10% OF GROSS INCOME, SUBJECT TO ADJUSTMENT BASED ON
          ABILITY TO PAY.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     (See Attached Prelim inary and Final Orders of Forfeiture)


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                             U.S. v. Gary Ambartsumyan
                              2:08-cr-00311-RLH-GWF
                                    Restitution List




Wells Fargo Bank                                    $49,840.00
P.O. Box 30086
Los Angeles, California 90030-0086

Bank of America                                     $105,492.00
1000 Samoset Drive
Newark, Delaware 19713

USAA                                                $2,500.00
10750 McDermott Freeway
San Antonio, Texas 78288-9876

Silver State Schools Federal Credit Union           $8,500.00
P.O. Box 12037
Las Vegas, Nevada 89112-0037

Metabank                                            $1,000.00
5501 South Broadband Lane
Sioux Falls, South Dakota 57108

Citibank                                            $21,500.00
100 Citibank Drive
San Antonio, Texas 78245

Nevada Federal Credit Union                         $1,000.00
P.O. Box 15400
Las Vegas, Nevada 89114

United Airlines Employee Credit Union/              $500.00
Alliant Credit Union
10000 Bessie Coleman Drive
Chicago, Illinois 60666

The Bancorp Bank                                    $500.00
405 Silverside Road
Wilmington, Delaware 19809
  Case 2:08-cr-00311-MMD-GWF          Document 348    Filed 07/11/11   Page 8 of 21




Palm Desert National Bank                            $500.00
73-745 El Paso
Palm Desert, California 92260

Desert Schools Federal Credit Union                  $2,000.00
P.O. Box 2945
Phoenix, Arizona 85062-2945

San Diego Credit Union                               $500.00
P.O. Box 269040
San Diego, California 92196-9040

North Island Financial Credit Union                  $3,000.00
P.O. Box 85833
San Diego, California 92186-5833

Iowa Corporate                                       $1,000.00
1500 NW 118th Street
Des Moines, Iowa 50325

Union Bank of California                             $3,000.00
P.O. Box 513840
Los Angeles, California 90051

Central Credit Union                                 $2,000.00
6200 North W Street
Pensacola, Florida 32505

US Bank                                              $21,000.00
800 Nicollet Mall
Minneapolis, Minnesota 55402

FDIC as Receiver for Washington Mutual               $1,500.00
FDIC Restitution Payments
P.O. Box 971774
Dallas, Texas 75397-1774



TOTAL:                                               $225,332.00
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      LTNITED STATES OF AM ERICA,                     )
                                                      )
                           Plaintiff,                 )
                                                      )
                                                      )         2:08-CR-311-RLH (GW F)
                                                      )
      GARY AMBARTSUM YAN,                             )
                                                      )
                           Defendant.                 )
                              PREL IM IN AR Y O RD ER O F FO R FEIT U RE
              ThisCourttindsthaton M arch 7,2011,defendantGA RY A M BARTSUM YA N pled guilty
      to CountsTw o,Eight,and-l'en ofa-l-en-countSecond Superseding Crim inallndictm entcharging him
      in CountTwowith Trafticking In,Production01-
                                                 ,andUseofCounterfeitAccessDevicesin violation                i
                                                                                                              !
                                                                                                              :
17 ofvlaitlel8,UnitedStatesCode,Sections1029(a)(1);inCountEightwithAggravatedIdentity-laheft,                 '
18 inviolationofTitle18,UnitedStatesCode,Sections1028A(a)(l)and(c)(4);andinCountTenwith
      Conspiracy to Com m it M oney Laundering in violation of Title 18,U nited States Code, Section

20 1956(h).
21            This Courttinds defendantGARY AM BARTSUM YAN agreed to the forfeiture ofthe
22    property setforth in Forfeiture A llegationsofthe Second Superseding Crim inalIndictm ent,
  ;
23            ThisCourtt
                       snds,pursuantto Fed.R.Crim,P.32.2(b)(1)and (2),the United Statesof
24    Am ericahasshow n therequisitenexusbetw een property setforth in the Forfeiture A llegationsofthe
25    Second Superseding Crim inal lndictm ent and the offense to w hich defendant GA RY
26    A M BA R-FSUM YA N pled guilty.
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                'rhefollowingassetsaresubjecttoforfeiturepursuanttoTitlel8,UnitedStatesCode,Section
         982(a)(2)(B);Title18,UnitedStatcsCode,Section982(a)(1);Title18,UnitedStatesCode,Section
         98l(a)(1)(A)andTitle28,United StatesCode,Section 2461(c);and Title 18,UnitedStatesCode,
         Section981(a)(l)(C)andTitle28,UnitedStatesCode,Section 2461(c):
                      a.    Sony Brow n 42'.I-cd Tv,S/N l050106;
                      b.    Sony Bronrn 42'.Lcd Tv,S/N 1002050'
                                                              ,
                      c.    D ellM odel1320 LaserPrinter,S,'N 35rphf1;
                      d.    D ellM odell850 LaserPrinter,Sm 141c34091;
                            A cerLaptop,S,'
                                          hl1-xa170x043820001ef2513'
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                            D ellXps Laptop,S?'
                                              lk 5vg3kd1;
                      g.    A pple M ac Laptop,S??
                                                 N W 8807f5dop1;
                      h.    H p Laptop,S/hl2ce7222m 6q)
                            M ac Book Air,Sm W 8813ppuy51;
                            M iscellaneousCards,Cables,Rem otes,Controllers,Stands;
                      k.    3.5 X Drive,Extend H arddrivc,S/N 020851;
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16                          A pple Tv,S/hi6#'8182w'
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18                    n.    M sr 206 Encoder,Sm A 015401;
19                          Psp Portable,S,
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20                    P.    Psp Pertable,S,
                                          'N .,
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21                    q,    Ipod Touch 16 Bg,S,
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26tt                        Sandisk 2.G b FlashdriveaS/hl2048rb;
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                      Sandisk 4 Gb Flashdrive,S/hl4096+ ;
                      Sandisk 1 Gb Flashdrive,S,?hll024rb;
                      Pny Attache l Gb Flashdrive,N o S/N ;
                      Logitech M x Revolution Thum bdrive,Sm 810-000412.
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                      Iron K ey Thum bdrive,Sm 0140485;
               ab,    Iron K ey Thum bdrive,S/N 014055l;
               ac.    DellX psTow er,Sm 30gzcg1;                                                 1

               ad.    Playstation 3,S/N Ce124062502-Cec11a01;
               ae.    Playstation 3,S,'
                                      N Ce514635354-Cec11g01;
                      X box 360,S,
                                 N 311730682105;

               ag.    Xbox 360,N o S/N ;
               ah.    1 -X box 360 V ideo Gam e;
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                      6 -Psp G am es in Case;
                ak.   35 -Blue Ray M ovies;

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                an.   $4900Cash(From ArturAmbartsumyan'sroom);
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          l                    ofAmerieaVisadebiic,
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             l                aad. counterfeitaccessdevicecontaining unauthorized accountinform ationforBank
             2                        ofAmericaVisadebitcard accountinthenameofE.I.l.,accountending in X-
              I                                                                                                      j
             3   .                    4275.
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             4                aae. counterfei
                                            taccessdevicecontainingunauthorizedaccounti
                                                                                      nformationforBank l
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             5.                       ofAmericaVisadebitcard accountinthenameofB.W ,,accountending inX -
             6I.                      734 1;
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                              aaf-. counterfeitaccessdevicecontainingunauthoùzedaccountinformationforBank :
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             8hj '
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                                      ofAmericaVisadebitcardaccount,accountendinginX-3019'
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             9                aag. counterfeitaccessdevicecontainingunauthorized accountinfonnation forBank '
            10                        ofA m erica V isa debitcard accountin the nam e ofD .R.,accountending in X -
            11                        40l8,
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            l2I                                .                                                            .
              1i              aah. counterfeitaccessdevicecontainingunauthorizedaccountinlbnnationforBank
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            l311                      ofAmerica Visa debitcard acco'unt, accountendinginX-7017'
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            14'1              aai. counterfeitaccessdevicecontainingunauthorizedaccountintbnnati
                                                                                               onforBank
            15j
              '                       ofAmericaVisadebitcardaccount,accountendinginX-6691;
              1i                                                                                                     I
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               '              aaj. counterfeitaccessdevicecontainingunauthorizedaccountinformationfor
            17I!                      W                                                                              j
                                          ellsFargodebitcm'daccount,numberendinginX-4424,
                                                                                        .                            j
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            181               aak,
            19h
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                                      counterfei
                                               taccessdevicecontainingunauthorizedaccountinformationfora j
                                      W ellsFargo debitcard account                                      1
              I:
                                                                       ,   accountnumberending inX -7930,
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            20 '              aal.    counterfeitaccessdevicecontaining unauthorized accountinformation fora '
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            21                        W ellsFargo debitcard account,num berending in X-6110,
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            22i               aam .   2008 W hite BM W M 5,V m W 85N 893548CX 09044,
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              I
            23'               aan. 2008Black M ercedesBenz G 500Wagon,Vm WDCYR49E38Xl71546.
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            24jI              aao.
E           25.j
                 i                    2006BlackQuadCabDodgeDakotaTt
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            26 l      . . .                                                                                          I
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     1                   aap.   aninpersonam criminaltorfeituremoneyjudgmentof$663,089.35inUnited
     2I                         States Currency                                                                 .
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     3 I (ttthepropertf').
         I1
     4:(           ThisCourtl'
                             indsthe United States ofAmerica isnow entitled to, and should,reduce the
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         r
          1
     51! aforementioned property to thepossession oftheUnited StatesofAm erica      .                           .

     6                                                                          i
                NOW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatthe '
     7 U nited StatesofA m erica should seize the aforem entioned property.
     8             IT IS FURTHER ORDERED,ADJUDGED,AND DECREED allrlghtstitle,andinterestof
     91'
       j GARY AM BAW I'SUM YAN in thealbrementioned propertyisforfeited andisvested in theUnited
      I
      iI
    10': StatesofAm ericaand shallbe safely held bytheUnited StatesofAmericauntilfurtherorderofthe i
         I                                                                                                      I
    ll Court.
      !I                                                                                                        !
    12:
      'i .
                   ITISFURTHERORDERED,ADJUDGED,ANDDECREED theUnitedStatesolAmeriua j
                                                                                                                j
    13:;shallpublishforatleastthirty(30)consecutivedaysontheoftscialinternetgovernmentforfeiture j
    14''
       r w ebsite,ww w .forfeiture,gov,notice ofthisO rder,w hieh shalldescribe the forfeited property,state
    l5 ' thetim eundertheapplicablestatutewhen apetition contestingtheforfeituremustbefiled, and state j
    16 th                                                                                                       j
              enameandcontactinformationforthegovernmentattorneytobeservedwithtllepetition,pursuant '
                                                                                                    (
    17 toFed.R.Crim.P.32,2(b)(6)and-1itle21,United StatesCode,Section853(n)(2).                                 j
      I;
    18!            IT Is FIJRTH ER ORD ERED 1A DJIJD GED >AN D DHCR EED apetition, ifany,m ustbe fqled I
                                                                                                       l
    l9 w ith the Clerk ofthe Court 333 Las VegasBoulevard SouthnLasV egas,N evada 89101,                        !
                                                                                                                ;
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    20!            IT IS FURTHER O RD ERED ,A DJU D GED ,A N D DECREED a copy ofthe petition,ifany,
      kj
      ,                                                                                                         I
    2 1Iy
        5 shall be sen'ed upon the A sset Forfeiture Attorney of the United States A ttonzey's O ffice at the
                                                                                                                i

    22iI
       . tollowingaddressatthetimeoftiling:
                                                                                                                -
    231l              M ichaelA
      11                         Humphreys
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                      A ssistantunited states A ttorney
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                                                                                                                (
    24 '              D anielD Hollingswort
                                 .           h                                                                  ;
                        A ssistantunited states Attorney                                                        r
    25                  Lloyd D . GeorgeUnited StatesCourthouse                                                 ,
                                                                                                                )
                        333 Las Vegas Boulevard South,Suite 5000                                                l
I   26                  Las V egas,N evada 89101
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         1!!              IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED the notice described herein j
         2 ' need notbe published in the eventa D eclaration ofForfeiture is issued by the appropriate agency
         3        fbllowing publication ofnotice ofseizure and intentto adm inistratively forfcitthe above-described
         4'. PFOPCrty.

         5                DATED this           dayof          f:f-KAC:7.-' ,2011.                                      !
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                              UNITED STATES DISTRICT COURT
                                     DISTRIC T O F N EVA D A

   UNITED STATES OFAM ERICA,                       )
                                                   )
                        Plaintiff,                 )
                                                   )
                                                   )        2:08-CR-31I-RLH (GW F)
                                                   )
   GARY AM BARTSUM YAN,                            )
                                                   )
                        Defendant.                 )

                                FIN A L O R D ER O F FO R FEITU R E
           On M arch 7,20l1,the United States DistrictCourtforthe DistrictofNevada entered a

   PreliminaryOrderofForfeiturepursuanttoFed.R.Crim,P.32.2(b)(l)and(2);Titlel8,UnitedStates
   Code,Section982(a)(2XB);Title 1%,UnitedStatesCode,Section9B2(a)(1);Title18,UnitedStates
   Code,Section981(a)(1)(A);andTitle28,UnitedStatesCode,Section2461(c);Titlel8,UnitedStates
   Code,Section981(a)(1)(C),andTitle28,UnitedStatesCode,Section2461(c),basedupontheplea
   ofguiltyby defendantUARY AM BARTSUM YAN tocrim inaloffenses,forfeitingspecitk property
   alleged intheIndictm entandagreed toin thePleaM em orandum and shown by theUnited Statesto
   have a requisitenexusto the offenseto which defendantGARY AM BARTSUM YAN pled guilty.
   D ocket#1,299,300,30l.
           This Courttinds the United States ofAmerica publishtd tht notic,
                                                                          e ofthe forftiture in
   accordancew ith the law viatheoftk ialgovem mentinternetforftitm e site,wwrw.forfeitktre,eov-
Case 2:08-cr-00311-MMD-GWF
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   consecutivelyfrom M arch 8,2011,through toApril6,201l,notifying al1knownthirdpartiesoftheir
   rightto petition theCourt.#309.
           ThisCourtfindsno petition wasfiltd hertin byoron behalfofany personorentity and the
   tim e forfiling such petitionsand claim s hasexpired.
           ThisCourtfindsno petitionsarepending w ith regard to the assetsnmned herein and thetim e
   forpresenting such petitionshasexpired.
           THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatallright
   title,and interestin the property hereinaherdescribed is condem ned,forfeited,and vested in the

   United StatesofAmerica pursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P,
   32.2(c)(2);Title18,UnitedStatesCode,Section982(a)(2)(B);Title18,UnitedStatesCode,Section
   982(a)(1);Title 18,United StatesCode,Section 981(a)(1)(A),aod Title 28,United StatesCode,
   Section2461(c);andTitle18,UnitedStatesCode,Section981(a)(1)(C),andTitle28,United States
   Code,Section2461(c);andTitle2l,UnitedStatesCode,Section 853(n)(7)andshallbedisposedof
   according to law :
           a.    Sony Brown 42'.Lcd Tv,Sm 1050106;
           b.     SonyBrown 42''Lcd Tv,Sm 1002050;
                 DellM odel1320 LaserPrinter,Sm 35+ 11f1;
           d.    DellM odel1850 LaserPrinter,Sm H lc3409l)
           e.    AcerLaptop,S/N L,
                                 = 170x043820001e5 513;
           f.    DellXpsLaptop,Sm 5vg3kd1;
           g,    AppleM ac Laptop,Sm W 8807f5dop1;
           h,    Hp Laptop,S/N 2ce7222m 6q;
                 M ac Book Air,Sm W 8813ppuy51;
                 M iscellaneousCards,Cables,Remotes,Controllers,Stands;
           k.    3.5X Drive,Extend Harddrive,Sm 020851;
           1.    Apple Tv,Sm 6f8182w 04cp;

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     1         m.    W d ExternalHard Drive,Sm + x11207674808;
     2         n.    M sr206 Encoder,Sm A 015401;
     3         o.    Psp Portable,S/N Pp865026504-Psp1001;
     4         p.    Psp Portable,Sm A t045924040-13sp2001)

     5         q, IpodTouch 16Bg,S/N 1c8016714p;                                     1
     6         r.    Iphone,Sm 5k8l880jwh8;                                          l
     7         s.    Iphone,Sm Bcgal24l;
     8         t.    Iphone,Sm 5k80247kw118;
     9         u.    Iphone,Sm 579ca1241;
    10         v.    Sandisk 2 Gb Flashdrive,Sm 2048rb;
    l1         w.    Sandisk 4 Gb Flashdrive,Sm 4096* ;
    12         x.    Sandisk 1 Gb Flashdrive,Sm l024rb;
    13         y.    Pny Attache lGb Flashdrive,No Sm ;
    14         z.    Logitech M x Revolution n um bdrivesSm 810-000412;
    15         ma. Iron Key Thum bdrive,Sm 0140485;
    16         ab. Iron K ey Thum bdrive,Sm 0140551)
    17         ac.   D ellX psTower,Sm 30gzcg1;
    18         ad. Playsotion 3,Sm Ce124062502-Cecha01;
    19        ae.    Playstation 3sSm Ce514635354-CechgO1;                           1
                                                                                     I
    20        af     X box 360,Sm 3l1730682105;                                      '

    21        ag. Xbox 360,No S/N;
    22        ah.    1-Xbox 360 Video Gam e;
    23        ai.    11 -Playstation 3 V ideo Gam es;

    24        aj. 6-PspGameslnCase;
    25        ak. 35 -Blue Ray M ovies;

    26        a1. W tj-goaTipper;
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I   Case 2:08-cr-00311-MMD-GWF
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              am. $3,000Cash(From GaryAmbadsumyan'srooml;
I             an. $4900Cash(From GARY Ambartsumyan'srooml;
              ao. $14,802.63 in M oney Gram M oney Orders;
              ap. M ens'Breitling Bentley W atch,Sm A25362.
                                                          ,and
              aq. M ens'Breitling Bentley W atch;
              ar    counterfeitaccessdevicecontaining unauthorized accountinformation forVisa
                    debitcard accountin thename ofM .V .,accountnumberending in X-4923,
                                                                                      .
              as.   counterfeitaccessdevicecontaining unauthorized accountinformation forVisa
i                   debitcard accountin the nam e of G .V .,accountending in X -2319.
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j             at. counterfeitaccessdevicecontainingunauthorizedaccountinformation forVisa
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l                   debitcard.
                             accountin thenameofC.D .,accountending inX-1918;
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E
              au. counterfeitaccessdevicecontaining unauthorized accountinformation fora
!                   Bank ofAm erica Visadebitcard account,accountending in X-7119.
                                                                                 ,
              av. counterfeitaccess device containing unauthorized accountinform ation forBank
                    ofA m erica Visa debitcard accountin the nam e of J.R.,accotm tending in X -
                    4609.
                        >
              aw. cotmterfeitaccessdevicecontainingunauthorized accountinformation fora
                    Bank ofAmericaVisadebitcard accotmtin thenameofB.J.,accountending
                    in X -1577.
                              ,
              ax. counterfeitaccessdevicecontainingunauthorized accountinformation fora
                    BankofAmerica Visa debitcard account,accountending in X-8491;
              ay. counterfeitaccess device containing unauthorized accountinform ation forBank
                    ofAmericaVisadebitcard account,accountending in X-6657,
                                                                          .
              a'
               z    counterfeitaccessdevicecontaining tmauthorized accountinform ation forBank
                    ofAm ericaVisadebitcardaccount,accountending in X-9612.
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 l         maa. counterfeitaccessdevicecontaining unauthorized accountinform ation forBank
 2               ofAmerica Visa debitcard accountin thename ofG.S.,accountending in X-
 3               2034.
                     ,
 4         aab. counterfeitaccessdevicecontaining unauthorized accountinformation forBank
 51              ofAmericaVisadebitcardaccountinthenameofC S.,accountending in X-
                                                                     .



 6               3846.
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                                                                                               2
 7         mqc, counterfeitaccessdevicecontaining unauthorized accountinformation forBank
 8               ofAmericaVisa debitcard accountin the nameofS.K,,accountending in X-
 9               5010;
10         aad. counterfeitaccessdevice containing unauthorized accountinform ation forBank
11               ofAmerica Visadebitcard accountin thename ofE.H .,accountending in X -
12               4275)

13p;       aae. counterfeitaccessdevicecontainingtmauthorizedaccountinformationforBank
     '                                                                                         t
14               ofAm ericaVisadebitcardaccotmtin the name ofB.W .,accountending in X -        '
l5               734 1;
16         aaf   counterfeitaccessdevicecontaining tmauthorized accountinformation forBank
17               ofAmerica Visa debitcard account, accountending in X -30l9,
                                                                           '
18         mag. counterfeitaccessdevice containing unauthorized accountinfonnation forBank
19               ofAm ericaVisadebitcard accotmtin thenam eofD .R.,accotmtending in X -
20               4018'
                     ,
21         aah. counterfeitaccessdevicecontaining tmauthorized accountinform ation forBaI'
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22               of Am eric,a V isa debitcard account, accountending in X -7017'
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23         aai. counterfeitaccessdevicccontaining unauthorized accountinform ation forBank
24               ofAm ericaVisadebitcard account, accountending in X -6691,
25         maj. counterfeitaccessdevicecontainingunauthorizedaccountinfonnationfor
26               W ellsFargodebitcard account, numberending in X-4424.
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           aak. counterfeitaccessdevice containing unauthorized accountinformation fora
                  W ells Fargo debitcard account,accountnum ber ending in X -7930;
           aal. counterfei!accessdevice containing unauthorized accountinformation fora
                  W ells Fargo debitcard account,num berending in X -6110;
           mrtm . 2008 W hite BM W M 5,V m W BSN B93548CXO9044;
           mqn. 2008 Black M ercedesBenzG-500 W agon,Vm W DCYR49E38X 171546;
           mao. 2006Black Quad CabDodgeDakotaTruck,Vm 117714A18286J185015;and
           aap, aninpersonam criminalforfeituremoneyjudgmentof$663,089.35inUnited
                StatesCurrency(tithepropertf').
           IT IS FURTHER OIIDERED,ADJUDGED,AND DECREED thatany and a1lforfeited
   ftmds,includingbutnotlimited to,currency,currencyequivalents,certificatesofdeposit,aswellas
   anyincom ederivedasaresultoftheunited StatesofAmerica'smanagementofanypropertyforfeitcd
   herein,and theproceedsfrom thesaleofany forfeited propellyshallbedisposed ofaccording to Iaw .
           The Clerk ishereby directed to send copiesofthisOrderto al1counselofrecord and three
   certified copiesto the United States A ttorney's O ffice.
           DATED this          '     day of     /4              ,2011.



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                                                  ,1N 1        ATES DIS RICT JU D E
